           20cr412
DOCKET No. _____________________________                                       Stephen Bannon
                                                                     DEFENDANT _______________________________________


      Robert Sobelman/Nicolas Roos
AUSA ___________________________________                                            Daniel Koffman/William Burck
                                                                     DEF.’S COUNSEL ___________________________________
                                                                     ✔ RETAINED     FEDERAL DEFENDERS    CJA    PRESENTMENT ONLY
   _____________________ INTERPRETER NEEDED
                                                                                  DEFENDANT WAIVES PRETRIAL REPORT

   Rule 5 ✔ Rule 9              Rule 5(c)(3)      Detention Hrg.                       8/20/2020
                                                                        DATE OF ARREST ________________            VOL. SURR.
                                                                                       7:15AM
                                                                        TIME OF ARREST ________________         ✔ ON WRIT
   Other: ________________________________________                                            4:09PM
                                                                        TIME OF PRESENTMENT __________


                                                             BAIL DISPOSITION
                                                                                                                   SEE SEP. ORDER
  DETENTION ON CONSENT W/O PREJUDICE             DETENTION: RISK OF FLIGHT/DANGER           SEE TRANSCRIPT
  DETENTION HEARING SCHEDULED FOR: ________________________
✔ AGREED CONDITIONS OF RELEASE
  DEF. RELEASED ON OWN RECOGNIZANCE
   5 million
✔ $_______________           2
                   PRB ✔ ________FRP
                1.75 million
✔ SECURED BY $_______________                 or real property
                               CASH/PROPERTY: __________________________________________________________
                                     DDC, MD, EDVA and DCT. Points between residence and SDNY for travel to court
✔ TRAVEL RESTRICTED TO SDNY/EDNY/_____________________________________________________________________
  TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
✔ SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

✔ PRETRIAL SUPERVISION:    REGULAR         STRICT ✔ AS DIRECTED BY PRETRIAL SERVICES
  DRUG TESTING/TREATMT AS DIRECTED BY PTS        MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
  DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

   HOME INCARCERATION        HOME DETENTION      CURFEW       ELECTRONIC MONITORING     GPS
   DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

   DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]     DEF. TO CONTINUE OR START EDUCATION PROGRAM
   DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
✔ DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: ___________________________
                                                                                           9/3/2020
______________________________________________________; REMAINING CONDITIONS TO BE MET BY: _____________

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

No international travel
No use of private air travel, airplanes or private yachts or boats. w/o expressed permission of the Court.
No contact with co-defendants or others associated with We Build The Wall ("WBTW")
No raising money for WBTW or moving money in or out of WBTW accounts.




✔ DEF. ARRAIGNED; PLEADS NOT GUILTY                                                    8/31/20 1PM
                                                           ✔ CONFERENCE BEFORE D.J. ON _______________
  DEF. WAIVES INDICTMENT
                                                                8/31/2020
✔ SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _______________

For Rule 5(c)(3) Cases:
   IDENTITY HEARING WAIVED                                           DEFENDANT TO BE REMOVED
   PRELIMINARY HEARING IN SDNY WAIVED                                CONTROL DATE FOR REMOVAL: _______________


PRELIMINARY HEARING DATE: ________________                           ON DEFENDANT’S CONSENT


      8/20/2020
DATE: ______________________                                                __________________________________________________
                                                                            UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
WHITE (original) – COURT FILE        PINK – U.S. ATTORNEY’S OFFICE       YELLOW – U.S. MARSHAL    GREEN – PRETRIAL SERVICES AGENCY
Rev’d 2016
